                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                Case No. 22-CV-68-BO



 YOLANDA IRVING, individually and as the natural parent
 and guardian of JALEN IRVING, JUWAN HARRINGTON,
 CYDNEEA HARRINGTON, KENYA WALTON
 individually and as the natural parent and guardian of
 ROBERT WHITLEY, ZIYEL WHITLEY, DYAMOND
 WHITLEY, KAMISHA WHITLEY, and NANETTA
 GRANT as the natural parent and guardian of ZIQUIS
 GRANT, and EMANCIPATE NC, INC.

 Plaintiffs,

 vs.

 THE CITY OF RALEIGH, Officer OMAR I. ABDULLAH,
 Sergeant WILLIAM ROLFE, Officer RISHAR PIERRE
 MONROE, Officer JULIEN DAVID RATTELADE, and
 Officer MEGHAN CAROLINE GAY, JOHN and JANE
 DOE Officers 1-10, in their individual capacities, Chief of
 Police ESTELLA PATTERSON and City Manager
 MARCHELL ADAMS-DAVID, in their official capacities.

 Defendants.




       PLAINTIFFS’ FIRST CONSOLIDATED SET OF DOCUMENT REQUESTS

        PLEASE TAKE NOTICE that, pursuant to Rule 26.1 of the Local Rules of the United

States District Court for the Eastern District of North Carolina (the “Local Rules”) and Rules

26(b) and 34 of the Federal Rules of Civil Procedure, Plaintiffs requests that Defendants produce

for copying and inspection at the office of Tin Fulton Walker & Owen PLLC, 119 East Main




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Street, Durham, North Carolina 27701, within thirty days, all documents and materials described

herein.

                                         DEFINITIONS

          1.   “Incident” means the raid on Plaintiffs’ homes on May 21, 2020 and all preceding

investigation and controlled buys, including any controlled buys from Marcus Van Irvin, that led

to the Incident.

          2.   “This Action” refers to this litigation and all related court proceedings, filings,

appeals, or orders.

          3.   “City” means the City of Raleigh.

          4.   “Defendants” means the City, Officer Omar Abdullah, Sergeant William Rolfe,

Officer Rishar Pierre Monroe, Officer Julien David Rattelade, Officer Meghan Caroline Gay,

John and Jane Doe Officers 1-10, Chief of Police Estella Patterson and City Manager Marchell

Adams-David.

          5.   “Individual Officers” means Officer Omar Abdullah, Sergeant William Rolfe,

Officer Rishar Pierre Monroe, Officer Julien David Rattelade, Officer Meghan Caroline Gay,

and John and Jane Doe Officers 1-10.

          6.   “Official Capacity Defendants” means Chief of Police Estella Patterson and City

Manager Marchell Adams-David.

          7.   “RPD” means the Raleigh Police Department, an agency of the City of Raleigh

and the direct employer of the Individual Officers and the Official Capacity Defendants.

          8.   “SEU” means the Selective Enforcement Unit, a SWAT type unit within the RPD.




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       9.      “Plaintiffs” means Yolanda Irving, Jalen Irving, Juwan Harrington, Cydneea

Harrington, Kenya Walton, Robert Whitley, Ziyel Whitley, Dyamond Whitley, Kamisha

Whitley, Nanetta Grant, Ziquis Grant, and Emancipate NC, Inc.

       10.     “Complaint” means the Amended Complaint filed by Plaintiffs in this Action.

       11.     “Document” means, without limitation, the following items, whether printed or

recorded or reproduced by any other mechanical or electronic process, or written or produced by

hand, which are in the possession, custody, or control of Defendants, their agents,

representatives, or attorneys, including, but not limited to, all documents located any City or

RPD Office or satellite office, RPD internal affairs; the RPD Precincts involved in the

investigations; the Wake County DA’s office; the personal possession of the Individual

Defendants; or any storage site, electronic or physical: agreements, communications, reports,

correspondence, telegrams, electronic mail, memoranda, summaries or records of telephone

conversations, summaries or records of personal conversations or interviews, drawings, sketches,

maps, summaries or records of meetings or conferences, summaries or reports of investigation or

negotiation, opinions or reports of consultants, photographs, motion picture film, video

recordings, audio recordings, brochures, pamphlets, advertisements, circulars, press releases,

drafts, letters, any marginal comments appearing on any documents, reports and worksheets,

subject and non-subject cover sheets, arrest reports and worksheets, aided cards, incident reports

and worksheets, investigators’ reports, memo book entries, log book entries, complaint reports

and worksheets, witness statements, cell records, property vouchers, complaint follow-up reports

and worksheets, property envelope cover sheets, requests for laboratory analysis, criminal court

complaints, on-line data sheets, receipts for property, field test reports, on-line booking sheets




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and worksheets, daily activity reports for officers, copies of other reports (both final and scratch

versions), requests for commendations, affidavits, and all other writings.

                                         INSTRUCTIONS

       1.      In responding to the Requests, you shall furnish all information that is available to

you, including information in the possession, custody, or control of your attorneys, accountants,

investigators, experts, representatives, or other agents.

       2.      If, in responding to the Requests, you are unable to respond fully, after exercising

due diligence to obtain the information to do so, you shall respond to the fullest extent possible,

specifying your inability to respond to the remainder, describing the efforts taken by you to

obtain the information to fully respond, and stating whatever information or knowledge you have

concerning the unfulfilled portion of any Request.

       3.      If any document responsive to the Requests has been lost, destroyed, or is

otherwise unavailable, describe and identify each such document by stating in writing: (i) the

name(s) of the author(s), the name(s) of the person(s) who received the original and all copies

and the date and subject matter, (ii) the last known custodian of the document, (iii) the incident,

event, or occurrence during which such document was lost, destroyed, or otherwise became

unavailable, (iv) each person having knowledge of the circumstances of it being lost, discarded

or destroyed, and (v) your efforts to locate each such document.

       4.      If a claim of privilege is asserted with respect to any document, or you refuse to

disclose any document requested herein on any other ground, state the basis for your claim that

such document need not be disclosed with such specificity as will permit the Court to determine

the legal sufficiency of your objection or position, and, for each such document, identify:

            a. whether the document contains a request for legal advice and, if so, identify the
               person who requested the legal advice;


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            b. whether the document contains advice as to the meaning or application of
               particular laws or rules in response to such request;

            c. any further information to explain and support the claim of privilege and to permit
               the adjudication of the propriety of that claim;

            d. the nature of the privilege (including work product) that is being claimed and if
               privilege is being asserted in connection with a claim or defense governed by state
               law, indicate the state’s privilege rule being invoked;

            e. the type of document, e.g., letter or memorandum; the general subject matter of
               the document; and such other information as is sufficient to identify the document
               for a subpoena duces tecum, including, where appropriate, the author, addressee,
               and any other recipient of the document, and, where not apparent, the relationship
               of the author, addressee, and other recipient to each other.

       5.      If in responding to these Requests you claim any ambiguity in interpreting either a

Request or a definition or instruction applicable thereto, such claim shall not be utilized by you

as a basis for refusing to respond; rather, you shall set forth in a part of your response to such an

Interrogatory the language deemed to be ambiguous and the interpretation chosen or used in

responding to the Request.

       6.      Defendants shall respond separately and completely to each Request or

subdivision thereof, setting forth the question in full followed by each answer.

       7.      These Requests seek production of all documents described, in their entirety,

along with any attachments, drafts and non-identical copies.

       8.      Questions regarding the interpretation of these Requests should be resolved in

favor of the broadest possible construction.

       9.      The documents produced in response to these requests shall be: (i) organized and

designated to correspond to the categories in the requests, or (ii) produced in a form that

accurately reflects how they are maintained by you in the normal course of business, including,

but not limited to the following:


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             a. that all associated file labels, file headings and file folders be produced with the
                responsive documents from each file and that each file be identified as to its
                owner(s) or custodian(s);

             b. that all pages now stapled or fastened together saved as individual documents be
                produced in format that allows the parties to easily determine that they were
                previously stapled or fastened together, by, for example, providing a field that
                shows when one document stops and another starts; and

             c. that all documents that cannot legibly be copied be produced in their original
                form.

       10.      These Requests are to be considered as continuing and Defendants are requested

to provide, by way of supplementary responses hereto, such additional information as it or any

persons acting on its behalf may hereafter obtain that will augment, clarify, or otherwise modify

the responses now given to these Requests. Such supplementary responses are to be served upon

counsel for Plaintiffs within thirty days after receipt of such information or documents.

       11.      Whenever possible, Plaintiffs request that all electronic documents be produced in

their native format with metadata (and all hardcopy documents in PDFs). Pursuant to the Federal

Rules of Civil Procedure, Defendants may not convert the data to a form that is more

burdensome or less searchable. Plaintiff will not accept any document production that requires

specialized software to view, for example, CaseLogistix, Concordance, Relativity, or

Summation.

                                REQUESTS FOR PRODUCTION

       1.       All audio, photographs, or video, as well as transcripts, summaries, or other

documents relating to audio or video recordings, which are related in any way to the Incident,

including but not limited to: All 911 calls, all cellular device reports, radio runs, all body camera

footage, all dash camera footage, all security camera footage, all mug shots or other photos of

Plaintiffs, all mug shots of anyone else arrested, all photographs of any evidence, all photographs



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of the crime scene or area where any alleged crime took place, all recordings of any interrogation

or interview of a Plaintiff or any other witness or suspect, all Closed Circuit Television Incident

Reports and all Closed Circuit Television Video/Photo Receipts.

       2.      All Activity Logs and all memo book entries for (or any other handwritten notes

by) each and every RPD officer present during, investigating, or involved with the Incident.

       3.      All logs of any kind relating in any way to the Incident, including but not limited

to: All Command Log entries, all Surveillance Logs, all Interrupted Patrol Logs, all Roll Calls,

all Telephone Dispatch Logs, and all Case Development / Detective Case Assignment Logs.

       4.      All documents regarding the Incident, including but not limited to: any documents

related to surveillance, planning or execution of the raid on Plaintiffs’ homes, or the search and

seizure of Plaintiffs and their homes. This request includes any drafts or handwritten versions of

the requested documents. This request also includes any files embedded electronically in any

report and any metadata relating to the report, including metadata showing when the report was

created, edited, or finalized and the contents of any edits or changes to the report.

       5.      All witness statements, affidavits, or declarations regarding the Incident,

including but not limited to: All statements by the Individual Officers or confidential informants

used by investigating officers. This includes depositions and Supporting Depositions, all

Complaint Reports, and all handwritten and typed Complaint Report Worksheets and

Supplements. This request includes any drafts or handwritten versions of the requested

documents. This request also includes any files embedded electronically in any report and any

metadata relating to the report, including metadata showing when the report was created, edited,

or finalized and the contents of any edits or changes to the report.




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       6.      All documents regarding any property or physical evidence relating to the

Incident, as well as all documents showing chain of custody, including but not limited to: All

property vouchers, Property Clerk Invoices, Property Clerk Invoice Worksheets, all Property Log

entries, all Retention of Property Requests, and all Notice to Person From Whom Property Has

Been Removed By The Police Department forms. This request includes any drafts or handwritten

versions of the requested documents.

       7.      All physical evidence, including any seized drugs or alleged drugs or other

evidence related to the Incident and all other controlled buys made by Dennis Williams with

RPD Officers. If you are unable to produce this evidence please indicate when this evidence will

be made available for inspection.

       8.      All documents regarding any field testing or forensic testing of any evidence, as

well as all documents showing chain of custody, relating to the Incident, including but not

limited to: All Request for Laboratory Examination sheets, all Evidence Transmittal Reports, all

Command Evidence Transmittal Reports, all Evidence Transmittal Reports, all Evidence

Collection Team Reports, all Request for Laboratory Examination Reports, all Police Laboratory

Analysis Reports, All Property Transfer Reports, Property Transfer Report Acceptance

Documents, all Evidence Collection/Tracking Forms, all Latent Fingerprint Reports, and all

Field Test Reports. This request includes any drafts or handwritten versions of the requested

documents.

       9.      All documents regarding any searches or search warrants related to the Incident,

including but not limited to: All Consent to Search Forms, all Investigative Encounters forms, all

Contact Cards issued or attempted to be issued, all warrant applications or affidavits, all Search




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Warrant Plans, and all Warrant Investigation Reports. This request includes any drafts or

handwritten versions of the requested documents.

       10.     All documents regarding any confidential informants who had any role in, or

communicated any information regarding, the Incident, including but not limited to: All

Confidential Informant Database inquiries and requests all Confidential Informant information or

payments all Subject Checklists, and all Confidential Informant Reactivation Requests. This

request includes any drafts or handwritten versions of the requested documents.

       11.     All documents reflecting any communication on RPD issued devices or

Defendants’ personal devices, such as cell phones. Specifically, all communications between

Individual Defendants related to the Incident and all communications between Individual

Defendants and Dennis Williams. This shall include all texts, including those sent by way of

applications like Group Me, Facebook Messenger, or Signal, as well as emails, letters, or other

correspondence, and the contents of the correspondence.

       12.     All documents reflecting any communication between Defendants or between

Defendants and the Wake County District Attorney’s Office related to this incident. This shall

include all texts, including those sent by way of applications like Group Me, Facebook

Messenger, or Signal, as well as emails, letters, or other correspondence, and the contents of the

correspondence.

       13.     All RPD policies and procedures, in place from January 1, 2018, to the present

day, concerning use of confidential informants, searches and seizures, warrant execution and

planning for warrant execution.

       14.     The complete personnel file of all Defendants.




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         15.    All internal affairs documents, including any review by an outside agency, related

to this Incident.

         16.    All internal affairs documents related to Officer Omar Abdullah and Dennis

Williams.

         17.    All documents related to Dennis Williams.

         18.    All communications between any Defendant, RPD Officer, or other witness and

Dennis Williams.

         19.    All body camera and buy video from each of Dennis Williams’ controlled buys

with the RPD VICE unit from August 16, 2018 through May 21, 2020.

         20.    All documents, including case jackets and witness statements, from each of the

arrests resulting from Dennis Williams’ controlled buys with the RPD VICE unit from August

16, 2018 through May 21, 2020.

         21.    All complaints for any prior state law false arrest, state law excessive force, state

law malicious prosecution, or 42 U.S.C. § 1983 lawsuits filed against and served on the

Individual Officers, and all notices of claim filed, or settlements, that name or involve the

Individual Officers.

         22.    All documents that support any of Defendants’ affirmative defenses.

Dated:          July 21, 2022
                Durham, NC




________________________
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TIN FULTON WALKER & OWEN, PLLC
119 E. Main Street
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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                    Case No. 22-CV-68-BO



 YOLANDA IRVING, individually and as the natural parent
 and guardian of JALEN IRVING, JUWAN HARRINGTON,
 CYDNEEA HARRINGTON, KENYA WALTON
 individually and as the natural parent and guardian of
 ROBERT WHITLEY, ZIYEL WHITLEY, DYAMOND
 WHITLEY, KAMISHA WHITLEY, and NANETTA
 GRANT as the natural parent and guardian of ZIQUIS
 GRANT, and EMANCIPATE NC, INC.

 Plaintiffs,

 vs.

 THE CITY OF RALEIGH, Officer OMAR I. ABDULLAH,
 Sergeant WILLIAM ROLFE, Officer RISHAR PIERRE
 MONROE, Officer JULIEN DAVID RATTELADE, and
 Officer MEGHAN CAROLINE GAY, JOHN and JANE
 DOE Officers 1-10, in their individual capacities, Chief of
 Police ESTELLA PATTERSON and City Manager
 MARCHELL ADAMS-DAVID, in their official capacities.

 Defendants.



                               PLAINTIFFS’ NOTICE OF DEPOSITIONS

        PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of Civil

Procedure, Plaintiffs will take the depositions of Defendants. These depositions will take place at

the offices of Tin Fulton Walker & Owen PLLC, 119 East Main Street, Durham, North Carolina,

27701, commencing at 10:00 a.m., pursuant to the following schedule:

               •   Sergeant William Rolfe, on October 24, 2022;

               •   Officer Rishar Pierre Monroe, on October 25, 2022;


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           •    Officer Julien Rattelade, on October 26, 2022;

           •    Officer Omar Abdullah, on October 27, 2022;

           •    Officer Meghan Caroline Gay, on October 28, 2022;

           •    Chief of Police Estella Patterson, on November 2, 2022.

These depositions will go forward as noticed unless the parties mutually agree to hold the

depositions on different dates or times and/or at different locations. These depositions will be

taken by stenographic and video means before an officer authorized to administer oaths and will

continue from day to day until completed. These depositions will be taken for the purposes of

discovery, for use at trial in this matter, and for any other purpose permitted under the Federal

Rules of Civil Procedure.


Dated: Durham, North Carolina
       July 21, 2022

Respectfully,




________________________
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                              CERTIFICATE OF SERVICE

       I hereby certify that I have served the foregoing document upon Counsel for Defendants
via e-mail as follows:

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THIS the 21st day of July, 2022



       Respectfully,




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